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MEMORANDUM                                                        March 26, 2021


TO:            Federal Agency Civil Rights Directors and General Counsels

FROM:          Principal Deputy Assistant Attorney General Pamela S. Karlan
               Civil Rights Division

SUBJECT:       Application of Bostock v. Clayton County to Title IX of the Education
               Amendments of 1972


        Several federal agencies have recently contacted the Civil Rights Division with questions
regarding the application of the Supreme Court’s reasoning in Bostock v. Clayton County, 140 S.
Ct. 1731, 590 U.S. ___ (2020), to Title IX of the Education Amendments of 1972, as amended
(20 U.S.C. § 1681 et seq.) (Title IX), particularly in light of Executive Order 13988, Preventing
and Combating Discrimination on the Basis of Gender Identity or Sexual Orientation, 86 Fed.
Reg. 7023 (Jan. 25, 2021). The Department of Justice is charged with coordination of the
implementation and enforcement of Title IX by Executive agencies. Exec. Order No. 12250,
§ 1-2, 45 Fed. Reg. 72,995 (Nov. 4, 1980). Under the Executive Order 12250 authority
delegated to the Civil Rights Division, 28 C.F.R. § 0.51(a) (1981) and 28 C.F.R. § 42.412(a)
(1981), I write to share the Division’s view as to whether Bostock applies to Title IX.

         Executive Order 13988 sets out the Administration’s policy that “[a]ll persons should
receive equal treatment under the law, no matter their gender identity or sexual orientation.”
Citing the Supreme Court’s holding in Bostock that the prohibition on discrimination “because of
. . . sex” under Title VII of the Civil Rights Act of 1964, 42 U.S.C. § 2000e et seq. (Title VII),
covers discrimination on the basis of gender identity and sexual orientation, the Executive Order
explains that Bostock’s reasoning applies with equal force to other laws that prohibit sex
discrimination “so long as the laws do not contain sufficient indications to the contrary.” The
Executive Order directs agencies to review other laws that prohibit sex discrimination, including
Title IX, to determine whether they prohibit discrimination on the basis of gender identity and
sexual orientation. We conclude that Title IX does.

        Title IX provides that “[n]o person in the United States shall, on the basis of sex, be
excluded from participation in, be denied the benefits of, or be subjected to discrimination under
any education program or activity receiving Federal financial assistance.” 20 U.S.C. § 1681(a).
Because their statutory prohibitions against sex discrimination are similar, the Supreme Court
and other federal courts consistently look to interpretations of Title VII to inform Title IX. See,
e.g., Franklin v. Gwinnett Cnty. Pub. Sch., 503 U.S. 60, 75 (1992); Jennings v. Univ. of N.C.,
482 F.3d 686, 695 (4th Cir. 2007); Gossett v. Oklahoma ex rel. Bd. of Regents for Langston
Univ., 245 F.3d 1172, 1176 (10th Cir. 2001). Thus, Bostock’s discussion of the text of Title VII
informs the Division’s analysis of the text of Title IX.



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        First, like Title VII, Title IX applies to sex discrimination against individuals. The
Bostock Court focused on this feature of Title VII in reaching its holding. Bostock, 140 S. Ct. at
1740–41 (“[The statute] tells us three times—including immediately after the words
“discriminate against”—that our focus should be on individuals”). Similarly, Title IX focuses on
individuals when it uses the term “person.” See Cannon v. Univ. of Chicago, 441 U.S. 677, 704
(1979) (stating that, in enacting Title IX, Congress “wanted to provide individual citizens
effective protection against those [discriminatory] practices” (emphasis added)).

        Second, Title IX’s “on the basis of sex” language is sufficiently similar to “because of”
sex under Title VII as to be considered interchangeable. In Bostock itself, the Supreme Court
described Title VII’s language that way: “[I]n Title VII, Congress outlawed discrimination in the
workplace on the basis of race, color, religion, sex, or national origin.” Bostock, 140 S. Ct. at
1737 (emphasis added); see also Meritor Sav. Bank, FSB v. Vinson, 477 U.S. 57, 64 (1986)
(“[W]hen a supervisor sexually harasses a subordinate because of the subordinate’s sex, that
supervisor ‘discriminate[s]’ on the basis of sex.” (emphasis added)). The Bostock Court
concluded that Title VII’s prohibition of discrimination “because of” sex includes discrimination
because of sexual orientation and transgender status, finding that when an employer
discriminates against employees for being gay or transgender, “the employer must intentionally
discriminate against individual men and women in part because of sex.” Bostock, 140 S. Ct. at
1740–43. The same reasoning supports the interpretation that Title IX’s prohibition of
discrimination “on the basis of” sex would prohibit recipients from discriminating against an
individual based on that person’s sexual orientation or transgender status. This interpretation of
Title IX is consistent with the Supreme Court’s longstanding directive that “if we are to give
Title IX the scope that its origins dictate, we must accord it a sweep as broad as its language.” N.
Haven Bd. of Ed. v. Bell, 456 U.S. 512, 521 (1982) (citations and internal alterations omitted).

        In the months following the Bostock decision, two appellate courts have reached the same
conclusion, citing Bostock to support their holdings that Title IX protects transgender students
from discrimination on the basis of gender identity. Grimm v. Gloucester Cnty. Sch. Bd., 972
F.3d 586, 616 (4th Cir. 2020), as amended (Aug. 28, 2020), reh’g en banc denied, 976 F.3d 399
(4th Cir. 2020), petition for cert. filed, No. 20-1163 (Feb. 24, 2021); Adams v. Sch. Bd. of St.
Johns Cnty., 968 F.3d 1286, 1305 (11th Cir. 2020), petition for reh’g en banc pending, No. 18-
13592 (Aug. 28, 2020). Other circuits reached this conclusion before Bostock. See Whitaker By
Whitaker v. Kenosha Unified Sch. Dist. No. 1 Bd. of Educ., 858 F.3d 1034, 1049–50 (7th Cir.
2017) (transgender boy was likely to succeed on his claim that school district violated Title IX
by excluding him from the boys’ restroom); Dodds v. U.S. Dep’t of Educ., 845 F.3d 217, 221–22
(6th Cir. 2016) (per curiam) (school district that sought to exclude transgender girl from girls’
restroom was not likely to succeed on the claim because Title IX prohibits discrimination based
on sex stereotyping and gender nonconformity).

        After considering the text of Title IX, Supreme Court caselaw, and developing
jurisprudence in this area, the Division has determined that the best reading of Title IX’s
prohibition on discrimination “on the basis of sex” is that it includes discrimination on the basis
of gender identity and sexual orientation. Before reaching this conclusion, the Division
considered whether Title IX “contain[s] sufficient indications” that would merit a contrary
conclusion. The Division carefully considered, among other things, the dissenting opinions in




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Gloucester and Adams, and the concerns raised in the dissents in Bostock. Like the majority
opinions in those cases, however, the Division ultimately found nothing persuasive in the
statutory text, legislative history, or caselaw to justify a departure from Bostock’s textual analysis
and the Supreme Court’s longstanding directive to interpret Title IX’s text broadly. Whether
allegations of sex discrimination, including allegations of sexual orientation or gender identity
discrimination, constitute a violation of Title IX in any given case will necessarily turn on the
specific facts, and therefore this statement does not prescribe any particular outcome with regard
to enforcement.

        I hope this memorandum provides a starting point for your agencies to ensure the
consistent and robust enforcement of Title IX, in furtherance of the commitment that every
person should be treated with respect and dignity. The Civil Rights Division is available to
answer any questions your agencies have as you implement Title IX’s protections against sexual
orientation and gender identity discrimination.




EXHIBIT M                                                                                           3
